                 Case 8:11-bk-22013-RK                                            Doc 1 Filed 08/26/11 Entered 08/26/11 14:15:47                                                                               Desc
Official Form 1 (04/10)                                                           Main Document    Page 1 of 74
                                                              United States Bankruptcy Court                                                                                                 Voluntary Petition
                                                           CENTRAL DISTRICT OF CALIFORNIA
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


 Arlasky, Frank J.
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 aka Arlasky Performance, Inc.


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   9937                                                                                (if more than one, state all):
 Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor                    (No. & Street, City, and State):
 27462 Grassland Drive
 Laguna Niguel, CA
                                                                                              ZIPCODE                                                                                                           ZIPCODE
                                                                                              92677
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Orange                                                               Principal Place of Business:
 Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

 SAME
                                                                                              ZIPCODE                                                                                                           ZIPCODE


 Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                 Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                  Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                             Chapter 11
     Corporation (includes LLC and LLP)                                                                                        Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                of a Foreign Nonmain Proceeding
     Partnership                                                                                                               Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                   Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                              Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                                         owed to insiders or affiliates) are less than $2,343,300 (amount
    Filing Fee to be paid in installments (applicable to individuals only). Must                                         subject to adjustment on 4/01/13 and every three years thereafter).
    attach signed application for the court’s consideration certifying that the debtor                                -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Offi cial Form 3B.                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                                          classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                             5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                         million             million        million         million           million
               Case 8:11-bk-22013-RK                           Doc 1 Filed 08/26/11 Entered 08/26/11 14:15:47 Desc
Official Form 1 (04/10)                                        Main Document    Page 2 of 74                 FORM B1, Page                                                          2
 Voluntary Petition                                                                          Name of Debtor(s):
 (This page must be completed and filed in every case)
                                                                                             Frank J. Arlasky
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                   (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Donald W Sieveke                                                       8/24/2011
                                                                                              Signature of Attorney for Debtor(s)                                            Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Official Form 1 (04/10)                                      Main Document    Page 3 of 74                 FORM B1, Page                                           3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Frank J. Arlasky
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Frank J. Arlasky
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

       8/24/2011                                                                      (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Donald W Sieveke                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Donald W Sieveke 78144
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
     LAW OFFICES OF DONALD W SIEVEKE                                            pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     1113 N Spurgeon Street                                                     or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.


     Santa Ana, CA                     92701
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     (714)543-8419
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
       8/24/2011                                                                 individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                   SANTA ANA DIVISION

In re Frank J. Arlasky                                                                                                    Case No.
                                                                                                                                       (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
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               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Frank J. Arlasky
                                    Date:      8/24/2011
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                            STATEMENT   OF RELATED
                              Main Document    Page 8 CASES
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                INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against
   the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any copartnership or
   joint venture of which debtor is or formerly was a general or limited partner, or member, or any corporation of which the
   debtor is a director, officer, or person in control, as follows: (Set forth the complete number and title of each such of prior
   proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom assigned, whether still pending and, if not,
   the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with any such
   prior proceeding(s).)




2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act
   of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor,
   a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the debtor is
   a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the complete
   number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to
   whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A that was filed with any such prior proceeding(s).)




3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of
   the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the
   debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or
   corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
   if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
   any such prior proceeding(s).)




4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
   filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and
   if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with
   any such prior proceeding(s).)




I declare, under penalty of perjury, that the foregoing is true and correct.

Executed at                                         , California.
                                                                              Debtor

Dated
                                                                              Joint Debtor




                   This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                  F 1015-2.1
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                                                     Related Cases Information 74     by                                           F 1015-2.1
                                              Local Bankruptcy Rule 1015-2 - Page 2 of 3
 In re                                                                                             CASE NUMBER:

                                                                                        Debtor.


  NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
 Proposed orders do not generate an NEF because only orders that have been entered are placed on a CM/ECF docket.

                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document described as
                                                                            will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d), and (b) in the manner indicated below:



I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink to
the document. On ________________________ I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at
the email addressed indicated below:




                                                                                     9 Service information continued on attached page
II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
On _________________________ I served the following person(s) and/or entity(ies) at the last known address(es) in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follow. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                    9    Service information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or entity
served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______________________ I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.




                                                                                    9    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


_________________________________________________________                                  _____________________________________
  Date                     Type Name                                                        Signature
                   This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                  F 1015-2.1
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                                                                            Required by                                         F 1015-2.1
                                           Local Bankruptcy Rule 1015-2 - Page 3 of 3
 In re                                                                                          CASE NUMBER:

                                                                                     Debtor.



ADDITIONAL SERVICE INFORMATION (if needed):




                This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                               F 1015-2.1
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B 201 - Notice of Available Chapters (Rev. 12/08)   Main Document    Page 11 of 74         USBC, Central District of California


Name:

Address:



Telephone:                                            Fax:

G
✔    Attorney for Debtor
G    Debtor in Pro Per


                                      UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 List all names including trade names, used by                    Case No.:
 Debtor(s) within last 8 years:




                                                                               NOTICE OF AVAILABLE
                                                                                    CHAPTERS
                                                                  (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code)




In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other),
and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single
copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1.     Services Available from Credit Counseling Agencies

       With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
       bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
       credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
       days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
       by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by
       the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult
       of the approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

       In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
       instructional course before he or she can receive a discharge. The clerk also has a list of approved financial
       management instructional courses. Each debtor in a joint case must complete the course.
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     B 201 - Notice of Available Chapters (Rev. 12/08)                                                    USBC, Central District of California


     2.     The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

            1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
               whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
               should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
               residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss
               your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
            2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
               right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
               creditors.
            3 The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
               have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
               discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
            4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
               still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
               and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain
               debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by
               operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that
               a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court
               may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
            administrative fee: Total fee $274)
            1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
               installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
               amounts set forth in the Bankruptcy Code.
            2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
               them, using your future earnings. The period allowed by the court to repay your debts may be three years or five
               years, depending upon your income and other factors. The court must approve your plan before it can take effect.
            3. After completing the payments under your plan, your debts are generally discharged except for domestic support
               obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are
               not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain
               long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
            Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
            quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
            Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
            earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
            arises primarily from a family-owned farm or commercial fishing operation.

3.        Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
          either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
          supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through
          the Office of the United States Trustee, the Office of the United States Attorney, and other components and employees
          of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.
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  B 201 - Notice of Available Chapters (Rev. 12/08)                                                   USBC, Central District of California




                              Certificate of [Non-Attorney] Bankruptcy Petition Preparer
      I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
this notice required by § 342(b) of the Bankruptcy Code.



Printed name and title, if any, of Bankruptcy Petition Preparer               Social Security number (If the bankruptcy petition
                                                                              Address: preparer is not an individual, state the
                                                                              Social Security number of the officer, principal,
                                                                              responsible person, or partner of the bankruptcy
                                                                              petition preparer.) (Required by 11 U.S.C. § 110.)

X
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certificate of the Debtor

      I (We), the debtor(s), affirm that I (we) have received and read this notice.




Printed Name(s) of Debtor(s)                                                Signature of Debtor                   Date


Case No. (if known)                                                         X
                                                                            Signature of Joint Debtor (if any)    Date
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                   SANTA ANA DIVISION
   In re Frank J. Arlasky                                                                                                    Case No.
                                                                                                                             Chapter 7


                                                                                                                / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1          $          950,000.00

 B-Personal Property
                                             Yes                3          $            81,400.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                2                                           $       1,399,156.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                2                                           $                 407.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                9                                           $          997,464.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                            $             9,368.75

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                            $            12,957.00

                                  TOTAL                       22            $       1,031,400.00             $      2,397,027.00
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                                               UNITED STATES BANKRUPTCY COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                     SANTA ANA DIVISION
   In re Frank J. Arlasky                                                                                                        Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       407.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $       0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       407.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   9,368.75
   Average Expenses (from Schedule J, Line 18)                                                                        $   12,957.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   12,500.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   378,156.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   407.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   997,464.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   1,375,620.00
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In re Frank J. Arlasky                                                                           ,                Case No.
                                      Debtor(s)                                                                                                  (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                                Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                           Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


Residence:                                                    Fee Simple                                          $ 950,000.00             $ 950,000.00
27462 Grassland Drive
Laguna Niguel, CA 92677




No continuation sheets attached                                                            TOTAL $                 950,000.00
                                                                    (Report also on Summary of Schedules.)
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In re Frank J. Arlasky                                                                                    ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                    X

2. Checking, savings or other financial                 Union Bank Accounts                                                                               $ 200.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Checking Account Ending 7009
   and loan, and homestead associations, or             Account Ending 0340
   credit unions, brokerage houses, or
   cooperatives.

                                                        Wife's Chase Bank Checking/Savings Acct                                        W                  $ 200.00
                                                        Ending 7431

3. Security deposits with public utilities,         X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     Misc. Household Furnishings                                                                   $ 7,000.00
   including audio, video, and computer
   equipment.
5. Books, pictures and other art objects,           X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.
6. Wearing apparel.                                     Misc. Clothing                                                                                $ 1,500.00

7. Furs and jewelry.                                    Misc. Jewelry                                                                                 $ 1,500.00

8. Firearms and sports, photographic, and           X
   other hobby equipment.

9. Interests in insurance policies. Name                Term Life Insurance Policy                                                                            $ 0.00
   insurance company of each policy and
   itemize surrender or refund value of each.

10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.




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In re Frank J. Arlasky                                                                                  ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                     N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

13. Stock and interests in incorporated and             Arlasky Performance, Inc. (no longer                                              $ 0.00
    unincorporated businesses. Itemize.
                                                        conducting business)

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other             2004 GMC Denali                                                         $ 12,000.00
    vehicles and accessories.


                                                        2006 GMC Envoy                                                          $ 15,000.00

26. Boats, motors, and accessories.                     2004 Commander Boat                                                     $ 44,000.00

27. Aircraft and accessories.                       X

28. Office equipment, furnishings, and              X
    supplies.

29. Machinery, fixtures, equipment and              X
    supplies used in business.



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In re Frank J. Arlasky                                                                             ,              Case No.
                                              Debtor(s)                                                                                              (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
                 Type of Property              N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of    3                                                                                    Total                        $ 81,400.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
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In re
        Frank J. Arlasky                                                                      ,                  Case No.
                                       Debtor(s)                                                                                               (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:         Check if debtor claims a homestead exemption that exceeds $146,450.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                    Specify Law                               Value of                  Current
             Description of Property                               Providing each                             Claimed              Value of Property
                                                                     Exemption                               Exemption             Without Deducting
                                                                                                                                      Exemptions


Misc. Household Furnishings                         Calif. C.C.P. §703.140(b)(3)                               $ 7,000.00                $ 7,000.00

Misc. Clothing                                      Calif. C.C.P. §703.140(b)(3)                               $ 1,500.00                $ 1,500.00

Misc. Jewelry                                       Calif. C.C.P. §703.140(b)(4)                               $ 1,425.00                $ 1,500.00




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* Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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In re Frank J. Arlasky                                                                               ,                                    Case No.
                                          Debtor(s)                                                                                                                               (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain

    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated


              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien
                                                   Co-Debtor




                                                                                                                                       Deducting Value
                                                                                                                     Disputed


                  Account Number
              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:
        4317                                                                                                                             $ 198,735.00                  $ 198,735.00
Creditor # : 1                                                   2nd Deed of Trust on Residence
Bank of America                                                  Residence: 27462 Grassland
PO Box 515504                                                    Dr., Laguna Niguel, CA 92677
Los Angeles CA 90051

                                                                  Value:   $ 950,000.00
Account No:
        4347                                                                                                                         $ 1,114,024.00                    $ 164,024.00
Creditor # : 2                                                   1st Deed of Trust on Residence
Bank of America                                                  Residence: 27462 Grassland
PO Box 515504                                                    Dr., Laguna Niguel, CA 92677
Los Angeles CA 90051

                                                                  Value:   $ 950,000.00
Account No:
        8149                                                                                                                               $ 14,218.00                      $ 2,218.00
Creditor # : 3                                                   Automobile Loan
Bank of the West                                                 2004 GMC Denali
PO Box 4002
Concord CA 94524

                                                                  Value:   $ 12,000.00
1      continuation sheets attached                                                                             Subtotal $            $ 1,326,977.00                   $ 364,977.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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In re Frank J. Arlasky                                                                                 ,                                    Case No.
                                           Debtor(s)                                                                                                                                (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                (Continuation Sheet)

                Creditor's Name and                            Date Claim was Incurred, Nature                                           Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                             Without                   Portion, If Any




                                                                                                                       Unliquidated
              Including ZIP Code and




                                                                                                                       Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor
                                                                                                                                         Deducting Value




                                                                                                                       Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                   of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:
        1512                                                                                                                                 $ 53,955.00                      $ 9,955.00
Creditor # : 4                                                   Boat Loan
Keybank                                                          2004 Commander Boat
PO Box 94620
Cleveland OH 44101

                                                                  Value:   $ 44,000.00
Account No:
        7177                                                                                                                                 $ 18,224.00                      $ 3,224.00
Creditor # : 5                                                   Automobile Loan
Santander Auto Loan                                              2006 GMC Envoy
PO Box 660633
Dallas TX 75266

                                                                  Value:   $ 15,000.00
Account No:




                                                                  Value:

Account No:




                                                                  Value:
Account No:




                                                                  Value:
Account No:




                                                                  Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                                Subtotal $                 $ 72,179.00                    $ 13,179.00
Holding Secured Claims                                                                                         (Total of this page)
                                                                                                                        Total $         $ 1,399,156.00                   $ 378,156.00
                                                                                                           (Use only on last page)
                                                                                                                                      (Report also on Summary of   (If applicable, report also on
                                                                                                                                      Schedules.)                  Statistical Summary of
                                                                                                                                                                   Certain Liabilities and
                                                                                                                                                                   Related Data)
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In re Frank J. Arlasky                                                                                   ,                             Case No.
                                            Debtor(s)                                                                                                           (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
     507(a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      1 No continuation sheets attached
                  Case 8:11-bk-22013-RK
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In re Frank J. Arlasky                                                                                                        ,                            Case No.
                                             Debtor(s)                                                                                                                             (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:              Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                        Date Claim was Incurred and                                             Amount of     Amount         Amount not
                                                                               Consideration for Claim                                                Claim       Entitled to     Entitled to
               Including ZIP Code,                                                                                                                                 Priority        Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                         Co-Debtor
                                                                                                                                                                                    if any




                                                                                                                                      Disputed
                                                                     H--Husband
              (See instructions above.)                              W--Wife
                                                                     J--Joint
                                                                     C--Community

Account No:
       8398                                                            7/18/2011                                                                      $ 407.00        $ 407.00         $ 0.00
Creditor # : 1                                                         Unsecured Property Tax
Orange County Tax Collector                                            re: 2004 Commander Boat
PO Box 1438
Santa Ana CA 92702


Account No:




Account No:




Account No:




Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $             407.00         407.00           0.00
               1 of         1      continuation sheets                                                                      (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                            Total $
                                                                       (Use only on last page of the com pleted Schedule E. Report total also            407.00
                                                                                                                 on Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                          (Use only on last page of the com pleted Schedule E. If applicable,                           407.00           0.00
                                                                            report also on the Statistical Sum m ary of Certain Liabilities and
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5645
Account No:                                                                                                                                                                                          $ 23,487.00
Creditor # : 1                                                          Business Related Debt
Advanta Bank Corp                                                       re: Arlasky Performance, Inc.
Welsh McKean Roads
PO Box 844
Spring House PA 19477

          6904
Account No:                                                                                                                                                                                                $ 0.00
Creditor # : 2                                                          Collection Agent
Bank of America                                                         Duplicate; Add'l Mailing Address
Associated Recovery Systems
PO Box 463051
Escondido CA 92046

          5533
Account No:                                                                                                                                                                                          $ 12,916.00
Creditor # : 3                                                          Business Related Debt
Bank of America                                                         re: Arlasky Performance, Inc.
PO Box 15184
Wilmington DE 19850


          2599
Account No:                                                                                                                                                                                          $ 10,799.00
Creditor # : 4                                                          Business Related Debt
Bank of America                                                         re: Arlasky Performance, Inc.
PO Box 15184
Wilmington DE 19850



     8 continuation sheets attached                                                                                                                 Subtotal $                                       $ 47,202.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8444
Account No:                                                             2007-2010                                                                                                                    $ 18,134.00
Creditor # : 5                                                          Credit Card Purchases
Bank of America
PO Box 15026
Wilmington DE 19850


          1785
Account No:                                                             2008-2010                                                                                                                     $ 8,552.00
Creditor # : 6                                                          Credit Card Purchases
Bank of America
PO Box 301200
Los Angeles CA 90030


Account No:                                                                                                                                                                                                $ 0.00
Creditor # : 7                                                          Collection Agent
Bank of America                                                         Duplicate; Add'l Mailing Address
Creditors Financial Group
3131 S Vaughn Way Ste 110
Aurora CO 80014

          2559
Account No:                                                             2010                                                                                                                          $ 1,043.00
Creditor # : 8                                                          Credit Card Purchases
Capital One
PO Box 60599
City of Industry CA 91716


          8082
Account No:                                                             2009-2010                                                                                                                     $ 1,165.00
Creditor # : 9                                                          Credit Card Purchases
Capital One
PO Box 60599
City of Industry CA 91716


          8526
Account No:                                                             2009-2010                                                                                                                     $ 1,667.00
Creditor # : 10                                                         Credit Card Purchases
Capital One
PO Box 60599
City of Industry CA 91716




Sheet No.      1 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 30,561.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2462
Account No:                                                             2010                                                                                                                             $ 503.00
Creditor # : 11                                                         Credit Card Purchases
Capital One
PO Box 60599
City of Industry CA 91716


          8800
Account No:                                                             2007-2010                                                                                                                    $ 43,695.00
Creditor # : 12                                                         Credit Card Purchases
Chase
PO Box 33035
Louisville KY 40232


          0853
Account No:                                                                                                                                                                                           $ 3,953.00
Creditor # : 13                                                         Business Related Debt
Chase                                                                   re: Arlasky Performance, Inc.
PO Box 15548
Wilmington DE 19886


          2165
Account No:                                                                                                                                                                                          $ 10,733.00
Creditor # : 14                                                         Business Related Debt
Chase Business Card                                                     re: Arlasky Performance Inc.
PO Box 15548
Wilmington DE 19886


          2651
Account No:                                                             2009-2010                                                                                                                     $ 3,037.00
Creditor # : 15                                                         Credit Card Purchases
Chase Card Services
PO Box 659409
San Antonio TX 78265


          6407
Account No:                                                             2009-2010                                                                                                                     $ 1,000.00
Creditor # : 16                                                         Credit Card Purchases
Chase Card Services
PO Box 659409
San Antonio TX 78265




Sheet No.      2 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 62,921.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3673
Account No:                                                             2007-2010                                                                                                                     $ 5,636.00
Creditor # : 17                                                         Credit Card Purchases
Chase Card Services
PO Box 659409
San Antonio TX 78265


Account No:                                                                                                                                                                                         $ 100,000.00
Creditor # : 18                                                         Business Related Debt
Chris Russell                                                           re: Arlasky Performance, Inc.
229 La Jolla Dr
Newport Beach CA 92663


          3797
Account No:                                                                                                                                                                                          $ 25,229.00
Creditor # : 19                                                         Business Related Debt
Citi Business                                                           re: Arlasky Performance, Inc.
PO Box 6235
Sioux Falls SD 57117


          2374
Account No:                                                                                                                                                                                           $ 6,583.00
Creditor # : 20                                                         Business Related Debt
Citi Business                                                           re: Arlasky Performance, Inc.
PO Box 6235
Sioux Falls SD 57117


          7353
Account No:                                                                                                                                                                                           $ 2,698.00
Creditor # : 21                                                         Credit Card Purchases
Citibank
Leading Edge Recovery
5440 Cumberland Ave Ste 300
Chicago IL 60656

          8421
Account No:                                                             2007-2010                                                                                                                    $ 10,031.00
Creditor # : 22                                                         Collection Agent
Citibank
Midland Credit Mgmt
PO Box 60578
Los Angeles CA 90060




Sheet No.      3 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 150,177.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0046
Account No:                                                                                                                                                                                                $ 0.00
Creditor # : 23                                                         Business Related Lawsuit
Edwin Eaton et al                                                       Attorney for Plaintiffs
Corrigan Morris
201 Santa Monica Blvd Ste 475
Santa Monica CA 90401

          7253
Account No:                                                                                                                                                                                                $ 0.00
Creditor # : 24                                                         Collection Agent
FIA Bank of America                                                     Duplicate; Add'l Mailing Address
Patenaude & Felix
4545 Murphy Cyn Rd 3rd Fl
San Diego CA 92123

          4180
Account No:                                                             2007-2010                                                                                                                    $ 46,357.00
Creditor # : 25                                                         Line of Credit
FIA Card Service
Bank of America
PO Box 15028
Wilmington DE 19850

Account No:                                                                                                                                                                                          $ 50,000.00
Creditor # : 26                                                         Business Related Debt
Firey Consulting Inc                                                    re: Arlasky Performance, Inc.
38700 Calle La Salida
Murrieta CA 92562


          5601
Account No:                                                                                                                                                                                          $ 23,955.00
Creditor # : 27                                                         Business Related Debt
First Equity Card                                                       re: Arlasky Performance, Inc.
PO Box 23029
Columbus GA 31902


          2519
Account No:                                                                                                                                                                                           $ 7,121.00
Creditor # : 28                                                         Business Related Debt
First National Bank                                                     re: Arlasky Performance, Inc.
PO Box 2818
Omaha NE 68103




Sheet No.      4 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 127,433.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0662
Account No:                                                             2009-2010                                                                                                                        $ 507.00
Creditor # : 29                                                         Credit Card Purchases
First Premier Bank
PO Box 5519
Sioux Falls SD 57117


          1623
Account No:                                                             2009-2010                                                                                                                        $ 414.00
Creditor # : 30                                                         Credit Card Purchases
First Premier Bank
PO Box 5529
Sioux Falls SD 57117


          0737
Account No:                                                                                                                                                                                                $ 0.00
Creditor # : 31                                                         Collection Agent
GE Money Bank                                                           Duplicate; Add'l Mailing Address
Stoneleigh Recovery Assoc
PO Box 1441
Lombard IL 60148

          5003
Account No:                                                             2005-2010                                                                                                                     $ 7,430.00
Creditor # : 32                                                         Credit Card Purchases
GE Money Bank
PO Box 981438
El Paso TX 79998


Account No:                                                                                                                                                                                           $ 5,912.00
Creditor # : 33                                                         Business Related Debt
Home Depot                                                              re: Arlasky Performance, Inc.
PO Box 6029
The Lakes NV 88901


          1624
Account No:                                                             2008-2010                                                                                                                     $ 8,863.00
Creditor # : 34                                                         Credit Card Purchases
Home Depot
PO Box 182676
Columbus OH 43218




Sheet No.      5 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 23,126.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                 Case 8:11-bk-22013-RK                        Doc 1 Filed 08/26/11 Entered 08/26/11 14:15:47                                                                                    Desc
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1274
Account No:                                                             2009-2010                                                                                                                     $ 1,410.00
Creditor # : 35                                                         Credit Card Purchases
HSBC
PO Box 60102
City of Industry CA 91716


          0786
Account No:                                                             2007-2010                                                                                                                    $ 10,145.00
Creditor # : 36                                                         Collection Agent
HSBC
American Coradius Intl
2420 Sweet Home Rd Ste 150
Amherst NY 14228

Account No:                                                                                                                                                                                          $ 50,000.00
Creditor # : 37                                                         Business Related Debt
Jose Rivera                                                             re: Arlasky Performance, Inc.
1133 S Acacia
Compton CA 90220


          7394
Account No:                                                             2008-2010                                                                                                                     $ 1,695.00
Creditor # : 38                                                         Department Store Purchases
Macys
LTD Financial Services
7322 Southwest Fwy Ste 1600
Houston TX 77074

          4375
Account No:                                                             2010                                                                                                                             $ 255.00
Creditor # : 39
Mechanics Bank
PO Box 4000
Richmond CA 94804


Account No:                                                                                                                                                                                          $ 20,000.00
Creditor # : 40                                                         Business Related Debt
Michael Ishida                                                          re: Arlasky Performance, Inc.
22 Nutcracker Lane
Aliso Viejo CA 92656




Sheet No.      6 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 83,505.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3744
Account No:                                                             2009-2010                                                                                                                     $ 1,525.00
Creditor # : 41                                                         Credit Card Purchases
Nordstrom Bank
PO Box 6565
Englewood CO 80155


Account No:                                                             7/2/2005                                                                                                                         $ 185.00
Creditor # : 42
OCPS
PO Box 17577
Anaheim CA 92817


Account No:293                                                                                                                                                                                        $ 5,244.00
Creditor # : 43                                                         Business Related Debt
Phillips Conoco                                                         re: Arlasky Performance, Inc.
PO Box 68914
Des Moines IA 50368


Account No:                                                             2007-2008                                                                                                                    $ 20,000.00
Creditor # : 44                                                         Loan
Rex White
2330 Chelsea Drive
Lake Havasu City AZ 86404


          0308
Account No:                                                             2008-2010                                                                                                                     $ 2,706.00
Creditor # : 45                                                         Credit Card Purchases
Sears
PO Box 688956
Des Moines IA 50368


Account No:                                                                                                                                                                                           $ 5,263.00
Creditor # : 46                                                         Business Related Debt
Shell                                                                   re: Arlasky Performance, Inc.
PO Box 183019
Columbus OH 43218




Sheet No.      7 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 34,923.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Frank J. Arlasky                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          4470
Account No:                                                             2010                                                                                                                             $ 426.00
Creditor # : 47                                                         Gasoline Purchases
Shell Gasoline
Northland Group Inc
PO Box 390846
Minneapolis MN 55439

          2397
Account No:                                                                                                                                                                                         $ 362,190.00
Creditor # : 48                                                         Business Related Judgment
Walton CWCA Irvine                                                      re: Building Rent for Arlasky
Voss Cook Thel
895 Dove St Ste 450                                                     Performance, Inc.
Newport Beach CA 92660

          0426
Account No:                                                                                                                                                                                          $ 75,000.00
Creditor # : 49                                                         Business Loan
Wells Fargo Bank                                                        re: Arlasky Performance, Inc.
3295 Elder St
Suite 340
Boise ID 83705

Account No:




Account No:




Account No:




Sheet No.      8 of        8 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 437,616.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 997,464.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Frank J. Arlasky                                                                                         / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




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In re Frank J. Arlasky                                                                        / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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In re Frank J. Arlasky                                                                                    ,                    Case No.
                                                 Debtor(s)                                                                                                (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      Daughter                                                                                        10
                                   Son                                                                                             8
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Exhaust Tech & Design                                                    Unemployed
  Name of Employer               RPM Tech
  How Long Employed              8 Months
  Address of Employer            2117 Hilltop St.
                                 Southfield MI 48033
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                   12,500.00 $                                 0.00
  2. Estimate monthly overtime                                                                             $                        0.00 $                                 0.00
  3. SUBTOTAL                                                                                              $                   12,500.00 $                                 0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                       2,648.64       $                        0.00
      b. Insurance                                                                                         $                         482.60       $                        0.00
      c. Union dues                                                                                        $                           0.00       $                        0.00
      d. Other (Specify):                                                                                  $                           0.00       $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                       3,131.25 $                              0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       9,368.75       $                        0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                        0.00
  8. Income from real property                                                                             $                           0.00       $                        0.00
  9. Interest and dividends                                                                                $                           0.00       $                        0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                        0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify):                                                                                             $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                        0.00 $                              0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    9,368.75 $                              0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  9,368.75
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Frank J. Arlasky                                                                                        ,                           Case No.
                                                   Debtor(s)                                                                                                                 (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                  7,020.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    481.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                    277.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    281.00
                d. Other      Security & HOA Dues                                                                                                         $                    204.00
                  Other
                             ...................................................................................................................................................................
                                                                                                                                                          $                        0.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                     100.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                 1,000.00
 5. Clothing                                                                                                                                         $                     200.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      50.00
 7. Medical and dental expenses                                                                                                                           $                     375.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     350.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                     100.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                      20.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                     120.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                     616.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     293.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                     414.00
                          ........................................................................................................................................................................
           b. Other:      Keybank - Boat Loan                                                                                                             $                     669.00
           c. Other:      2004 GMC Denali Auto Loan                                                                                                                             387.00
                          ........................................................................................................................................................................
                                                                                                                                                          $


  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:                                                                                                                                             $                        0.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $               12,957.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $               9,368.75
      b. Average monthly expenses from Line 18 above                                                                                                      $              12,957.00
      c. Monthly net income (a. minus b.)                                                                                                                 $             (3,588.25)
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In re Frank J. Arlasky                                                                                                    Case No.
                                                         Debtor                                                                                               (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      23     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   8/24/2011                                       Signature   /s/ Frank J. Arlasky
                                                                          Frank J. Arlasky




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                   SANTA ANA DIVISION

In re: Frank J. Arlasky                                                                                               Case No.
       aka Arlasky Performance, Inc.



                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date 2011: $80,769                               2011: Revstone
   Last Year 2010: $62,049                               2010: Revstone and Arlasky Performance, Inc.
Year before 2009: $32,000                                2009: Arlasky Performance, Inc.


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




                                                                                                                   Statement of Affairs - Page 1
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           3. Payments to creditors
 None      Complete a. or b., as appropriate, and c.

           a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
           creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
           affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
           filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                                DATES OF                                                               AMOUNT
                                                                            PAYMENTS                      AMOUNT PAID                              STILL OWING

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

None other than in the ordinary
course and scope.


 None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
           commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is
           an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
           repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
           must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)


           * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




 None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
           were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
           unless the spouses are separated and a joint petition is not filed.)




           4. Suits and administrative proceedings, executions, garnishments and attachments
 None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
           (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
           the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                                COURT OR AGENCY
AND CASE NUMBER                           NATURE OF PROCEEDING                                   AND LOCATION                                 STATUS OR DISPOSITION

Case No:                                  Breach of Contract                                   OCSC - Central                                 Judgment for
30-2010-00382397                                                                               Justice Center                                 Plaintiff
Walton CWCA Irvine
vs.
Arlasky
Performance, Inc.


Case No:                                                                                       OCSC                                           Dismissed
30-2009-00330046                                                                                                                              11/22/2010
Edwin H. Eaton, et
al.
vs.
Arlasky
Performance, Inc.,
et al.


Case No:                                  Collections                                          OCSC - Central                                 Trial Pending

                                                                                                                            Statement of Affairs - Page 2
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CAPTION OF SUIT                                                                         COURT OR AGENCY
AND CASE NUMBER                      NATURE OF PROCEEDING                                 AND LOCATION                                STATUS OR DISPOSITION

30-2010-00429211                                                                        Justice Center                                11/7/11
FIA Card Services
vs.
Frank J. Arlasky


Case No:                             Collections                                        OCSC - Central                                Dismissed
30-2010-00424256                                                                        Justice Center                                5/19/2011
JPMorgan Chase Bank
vs.
Arlasky
Performance, Inc.,
et al.


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
        family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
        (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                    Statement of Affairs - Page 3
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        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
         this case.

                                                        DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                               NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Donald W Sieveke                                 Date of Payment:                                             $5,000.00 Attorney's Fees
Address:                                                Payor: Frank J. Arlasky
1113 N Spurgeon Street
Santa Ana, CA 92701


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
        or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
        of which the debtor is a benificiary.




        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
        within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
        other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                            TYPE OF ACCOUNT, LAST FOUR
                                                            DIGITS OF ACCOUNT NUMBER                                        AMOUNT AND DATE
NAME AND ADDRESS OF INSTITUTION                             AND AMOUNT OF FINAL BALANCE                                     OF SALE OR CLOSING

Chase Bank                                                  Account Type and No.:                                           Closed 4/2010
                                                            Business Account ending
                                                            9423 for Arlasky
                                                            Performance, Inc.


        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
        or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)




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        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




        15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
        period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
        New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
        the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.

NAME

Name: Sandra F. White - Wife


        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
        wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
        cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
        debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
        similar termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
        under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
        party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




        18. Nature, location and name of business
None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
        self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
        which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of


                                                                                                                   Statement of Affairs - Page 5
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         all businesses    in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.


                                       LAST FOUR DIGITS OF                                                                                             BEGINNING AND
NAME                                   SOCIAL-SECURITY OR                      ADDRESS                                 NATURE OF BUSINESS              ENDING DATES
                                       OTHER INDIVIDUAL
                                       TAXPAYER-I.D. NO.
                                       (ITIN)/ COMPLETE EIN


Arlasky                                ID: C2642094                            15801 Rockfield                         High Performance                2/2004 -
Performance, Inc.                                                              Blvd.                                   Exhaust Products                3/3/2010
                                                                               Suite B & C
                                                                               Irvine, CA
                                                                               92618


 None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.

NAME AND ADDRESS                                                                                                                              DATES SERVICES RENDERED

Thomas R. Franz, CPA                                                                                                                          Tax Preparation
2861 Red Mountain Heights Dr.
Fallbrook, CA 92028


 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




 None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
         any of the books of account and records are not available, explain.



NAME                                                                       ADDRESS

Debtor

                                                                                                                               Statement of Affairs - Page 6
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None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
        within two years immediately preceding the commencement of this case.




        20. Inventories
None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
        amount and basis of each inventory.




None    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




        21. Current Partners, Officers, Directors and Shareholders
None    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
        percent or more of the voting or equity securities of the corporation.




        22. Former partners, officers, directors and shareholders
None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None    b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
        commencement of this case.




        23. Withdrawals from a partnership or distribution by a corporation
None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
        loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




        24. Tax Consolidation Group.
None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
        of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




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        25. Pension Funds.
None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
        responsible for contributing at any time within six years immediately preceding the commencement of the case.




                                                                                                                 Statement of Affairs - Page 8
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[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date      8/24/2011                      Signature     /s/ Frank J. Arlasky
                                                of Debtor


                                                Signature
       Date
                                                of Joint Debtor
                                                (if any)




                                                                                                                  Statement of Affairs - Page 10
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                                                 UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                        SANTA ANA DIVISION

In re Frank J. Arlasky                                                                                               Case No.
                                                                                                                     Chapter 7



                                                                                                          / Debtor




                                                      CHAPTER 7 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No. 1

Creditor's Name :                                                                 Describe Property Securing Debt :
 Bank of the West                                                                  2004 GMC Denali



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      Retain and Keep Current                                                        (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 2

Creditor's Name :                                                                 Describe Property Securing Debt :
 Santander Auto Loan                                                               2006 GMC Envoy



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      Retain and Keep Current                                                        (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




                                                                                                                                                  Page     1 of      3
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       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                 Describe Leased Property:                                               Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                          Yes              No




                                                                                                                                                    Page   2 of   3
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                                                               Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date:       8/24/2011                                   Debtor: /s/ Frank J. Arlasky

Date:                                                   Joint Debtor:




                                                                                                                                   Page   3 of   3
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                   SANTA ANA DIVISION
In re Frank J. Arlasky                                                                                              Case No.
      aka Arlasky Performance, Inc.                                                                                 Chapter 7




                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the
     above-named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                 5,000.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . $                   5,000.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $       0.00

2.   The source of the compensation paid to me was:
        Debtor            Other (specify)


3.   The source of compensation to be paid to me is:
          Debtor                     Other (specify)


4.        I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing
          in the compensation, is attached.


5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
     petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearing
     thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e. [Other provisions as needed].
          None
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6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        Paragraph 5d above: Attorney has NOT agreed to represent Debtor in adversary
        proceedings and/or contested bankruptcy matters.




                                                  CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.




       8/24/2011                                      /s/ Donald W Sieveke
      Date                                            Signature of Attorney


                                                      LAW OFFICES OF DONALD W SIEVEKE
                                                      Name of Law Firm
           Case 8:11-bk-22013-RK                        Doc 1 Filed 08/26/11 Entered 08/26/11 14:15:47                                                    Desc
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 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number                   FOR COURT USE ONLY




 Attorney for

                    UNITED STATES BANKRUPTCY COURT
                     CENTRAL DISTRICT OF CALIFORNIA
 In re:                                                                                                      CHAPTER _______


                                                                                                             CASE NUMBER


                                                                                                Debtor.                         (No Hearing Required)


                                  DECLARATION RE: LIMITED SCOPE OF APPEARANCE
                                   PURSUANT TO LOCAL BANKRUPTCY RULE 2090-1

TO THE COURT, THE DEBTOR, THE TRUSTEE (if any), AND THE UNITED STATES TRUSTEE:

1. I am the attorney for the Debtor in the above-captioned bankruptcy case.

2. On (specify date) _________________________, I agreed with the Debtor that for a fee of $______________, I would
   provide only the following services:

     a.   
          ✔     Prepare and file the Petition and Schedules
     b.   
          ✔     Represent the Debtor at the 341(a) Meeting
     c.        Represent the Debtor in any relief from stay actions
     d.        Represent the Debtor in any proceeding involving an objection to Debtor’s discharge pursuant to
                11 U.S.C. § 727
     e.        Represent the Debtor in any proceeding to determine whether a specific debt is nondischargeable under
                11 U.S.C. § 523
     f.        Other (specify):



3. I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct and
   that this declaration was executed on the following date at the city set forth in the upper left-hand corner of this page.

Dated:                                                                                                  _______________________________________
                                                                                                        Law Firm Name
I HEREBY APPROVE THE ABOVE:
                                                                                                        By: ____________________________________
_____________________________________
Signature of Debtor
                                                                                                        Name: _________________________________
                                                                                                                Attorney for Debtor
_____________________________________
 Signature of Joint Debtor



                      This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                          F 2090-1.1
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 In re                                                                                                            CHAPTER _______

                                                                                                     Debtor.      CASE NUMBER


  NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
 Proposed orders do not generate an NEF because only orders that have been entered are placed on a CM/ECF docket.

                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document described as
                                                                            will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d), and (b) in the manner indicated below:


I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink to
the document. On ________________________ I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at
the email addressed indicated below:




                                                                                               G Service information continued on attached page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
On _________________________ I served the following person(s) and/or entity(ies) at the last known address(es) in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follow. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                              G     Service information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or entity
served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _______________________ I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.




                                                                                              G     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.



_________________________________________________________                                             _____________________________________
  Date                     Type Name                                                                   Signature

                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                      F 2090-1.1
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 In re                                                                                                          CHAPTER _______

                                                                                                   Debtor.      CASE NUMBER


ADDITIONAL SERVICE INFORMATION (if needed):




                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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B22A (Official Form 22A) (Chapter 7) (12/10)

                                                                                                According to the information required to be entered on this
                                                                                              statement (check one box as directed in Part I, III, or VI of this
  In re   Frank J. Arlasky
                     Debtor(s)                                                                       The presumption arises.
                                                                                                     The presumption does not arise.
  Case Number:
                                                                                                   The presumption is temporarily inapplicable.
                     (If known)
                                                                                           (Check the box as directed in Parts I, III, and VI of this statement.)

                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                        AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I
applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate
statements if they believe this is required by § 707(b)(2)(C).

                                              Part I. MILITARY AND NON-CONSUMER DEBTORS
          Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning
          of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the
          verification in Part VIII. Do not complete any of the remaining parts of this statement.
 1A
            Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
          defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
          defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

          Non-consumer Debtors.If your debts are not primarily consumer debts, check the box below and complete the verification in
  1B      Part VIII. Do not complete any of the remaining parts of this statement.

             Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
          Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
          Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
          September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C.
          § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland
          defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for this temporary exclusion, (1) check the
          appropriate boxes and presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part
          VIII. complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for
          “The presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part VIII.
          During your exclusion period you are not required to complete the balance of this form, but you must complete
          the form no later than 14 days after the date on which your exclusion period ends, unless the time for filing a
          motion raising the means test presumption expires in your case before your exclusion period ends.



  1C        Declaration of Reservists and National Guard Members.By checking this box and making the appropriate entries below, I
          declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the
          Armed Forces or the National Guard

                a.      I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                      I remain on active duty /or/
                                      I was released from active duty on ________, which is less than 540 days before this bankruptcy case was filed;

                                 OR

                b.      I am performing homeland defense activity for a period of at least 90 days /or/
                        I performed homeland defense activity for a period of at least 90 days, terminating on _______, which is less than 540
                        days before this bankruptcy case was filed.
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B22A (Official Form 22A) (Chapter 7) (12/10)            - Cont                                                                                              2
                          Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
         b.        Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
               penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
               living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
               Complete only Column A ("Debtor’s Income") for Lines 3-11.
         c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.   Complete both
  2
               Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
         d.       Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
               Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the six
                                                                                                                                       Column A       Column B
         calendar months prior to filing the bankruptcy case, ending on the last day of the month before the filing.
         If the amount of monthly income varied during the six months, you must divide the six month total by six,                      Debtor's      Spouse's
         and enter the result on the appropriate line.
                                                                                                                                         Income        Income
  3      Gross wages, salary, tips, bonuses, overtime, commissions.                                                                    $12,500.00   $0.00

         Income from the operation of a business, profession, or farm.Subtract Line b from Line a and enter the
         difference in the appropriate column(s) of Line 4. If you operate more than one business, profession or
         farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
  4      Do not include any part of the business expenses entered on Line b as a deduction in Part V.
              a.        Gross receipts                                                    $0.00
              b.        Ordinary and necessary business expenses                          $0.00
                                                                                                                                       $0.00        $0.00
              c.        Business income                                                   Subtract Line b from Line a

         Rent and other real property income.          Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 5. Do not enter a number less than zero.    Do not include
         any part of the operating expenses entered on Line b as a deduction in Part V.
  5           a.        Gross receipts                                                    $0.00
              b.        Ordinary and necessary operating expenses                         $0.00
              c.        Rent and other real property income                               Subtract Line b from Line a                  $0.00        $0.00

  6      Interest, dividends, and royalties.                                                                                           $0.00        $0.00

  7      Pension and retirement income.                                                                                                $0.00        $0.00

         Any amounts paid by another person or entity, on a regular basis, for the household expenses of
         the debtor or the debtor's dependents, including child support paid for that purpose.
  8      Do not include alimony or separate maintenance payments or amounts paid by your spouse if Column B is
         completed. Each regular payment should be reported in only one column; if a payment is listed in Column A,                    $0.00        $0.00
         do not report that payment in Column B.

         Unemployment compensation.            Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act                    $0.00
                                                                 Debtor ________                   $0.00
                                                                                           Spouse _________                            $0.00        $0.00

         Income from all other sources.         Specify source and amount. If necessary, list additional sources on a
         separate page.    Do not include alimony or separate maintenance payments paid by your spouse
 10      if Column B is completed, but include all other payments of alimony or separate maintenance.
         Do not include any benefits received under the Social Security Act or payments received as a victim of a war
         crime, crime against humanity, or as a victim of international or domestic terrorism.

                   a.     Outside Work                                                            $0.00

          Total and enter on Line 10                                                                                                   $0.00        $0.00
         Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                                     $12,500.00   $0.00

         Total Current Monthly Income for § 707(b)(7).     If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount from Line 11, Column A.                                                                           $12,500.00
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B22A (Official Form 22A) (Chapter 7) (12/10)       - Cont                                                                                               3


                                       Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).           Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                               $150,000.00

         Applicable median family income. Enter the median family income for the applicable state and
         household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                           $78,869.00
                                                 CALIFORNIA
         a. Enter debtor’s state of residence: ______________________                                       4
                                                                      b. Enter debtor’s household size: __________

         Application of Section 707(b)(7). Check the applicable box and proceed as directed.

           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.           Complete the remaining parts of this
         statement.

                     Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                    $12,500.00

         Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
         Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s
         dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
         spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s dependents) and
         the amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If
         you did not check box at Line 2.c, enter zero.
 17
           a.                                                                                               $0.00

           b.                                                                                               $0.00

           c.                                                                                               $0.00

          Total and enter on Line 17                                                                                                       $0.00

 18      Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                       $12,500.00




                                  Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, and other items. Enter in Line 19A the “Total” amount from IRS National
         Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
 19A     at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the
         number that would currently be allowed as exemptions on your federal income tax return, plus the number of
         any additional dependents whom you support.                                                                                       $1,377.00

         National Standards: health care.           Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
         Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
         Health Care for persons 65 years of age or older. (This information is available at     www.usdoj.gov/ust/ or
         from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under 65
         years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or older. (The
         applicable number of persons in each age category is the number in that category that would currently be
         allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
         you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
 19B     Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
         c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.

          Household members under 65 years of age                           Household members 65 years of age or older

         a1.    Allowance per member                        $60.00        a2.    Allowance per member                          $144.00

         b1.    Number of members                           4             b2.    Number of members                             0
         c1.    Subtotal                                    $240.00       c2.    Subtotal                                      $0.00       $240.00
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         Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
         IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 20A     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family
         size consists of the number that would currently be allowed as exemptions on your federal income tax return,
         plus the number of any additional dependents whom you support.                                                                        $676.00

         Local Standards: housing and utilities; mortgage/rent expenses. Enter, in Line a below, the amount of the IRS
         Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
         at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of the
         number that would currently be allowed as exemptions on your federal income tax return, plus the number of any
         additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any debts
         secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B.
 20B      Do not enter an amount less than zero.

          a.       IRS Housing and Utilities Standards; mortgage/rental expense                               $2,083.00
          b.       Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                                                         $7,179.00
          c.       Net mortgage/rental expense                                                                Subtract Line b from Line a.     $0.00

         Local Standards: housing and utilities; adjustment.         If you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                               $0.00

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.

         Check the number of vehicles for which you pay the operating expenses or for which the operating
         expenses are included as a contribution to your household expenses in Line 8.
 22A
              0     1     2 or more.
         If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards: Transportation. If
         you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS Local Standards:
         Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census
         Region. (These amounts are available at     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                            $590.00

         Local Standards: transportation; additional public transportation expense.                If you pay the operating expenses
         for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction
 22B     for your public transportation expenses, enter on Line 22B the “Public Transportation” amount from IRS Local
         Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                                                               $0.00

         Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.   Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs                        $496.00
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                       $237.00                                                 $259.00
                  as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 1                           Subtract Line b from Line a.
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         Local Standards: transportation ownership/lease expense; Vehicle 2.
         Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.

           a.      IRS Transportation Standards, Ownership Costs                                     $496.00
           b.      Average Monthly Payment for any debts secured by Vehicle 2,
                   as stated in Line 42                                                              $304.00
           c.      Net ownership/lease expense for Vehicle 2                                         Subtract Line b from Line a.           $192.00

         Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
 25      for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
         employment taxes, social-security taxes, and Medicare taxes.          Do not include real estate or sales
         taxes.                                                                                                                             $2,649.00

         Other Necessary Expenses: mandatory payroll deductions for employment.                  Enter the total average monthly
 26      payroll deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
         Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                            $0.00

         Other Necessary Expenses: life insurance.         Enter total average monthly premiums that you actually
 27      pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
                                                                                                                                            $1,500.00
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                Enter the total monthly amount that you are required
 28      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
         Do not include payments on past due support obligations included in Line 44.                                                       $0.00

         Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child.        Enter the total average monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                        $0.00

 30      Other Necessary Expenses: childcare.             Enter the total average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                      $0.00

         Other Necessary Expenses: health care.               Enter the total average monthly amount that you actually expend on health
 31      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
         paid by a health savings account, and that is in excess of the amount entered in Line 19B.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                         $0.00

         Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
         actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
 32      pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health
         and welfare or that of your dependents. Do not include any amount previously deducted.
                                                                                                                                            $0.00

 33      Total Expenses Allowed under IRS Standards.           Enter the total of Lines 19 through 32                                       $7,483.00


                                  Subpart B: Additional Living Expense Deductions
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                 List the monthly expenses in the
         categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.

           a.      Health Insurance               $483.00
           b.      Disability Insurance           $0.00
           c.      Health Savings Account         $0.00
 34
          Total and enter on Line 34                                                                                                        $483.00
          If you do not actually expend this total amount, state your actual total average monthly expenditures in the
          space below:
           $0.00
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         Continued contributions to the care of household or family members. Enter the total average actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                                   $0.00

         Protection against family violence.            Enter the total average reasonably necessary monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                       $0.00

         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
 37      Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
         provide your case trustee with documentation of your actual expenses, and you must demonstrate that
         reasonable and necessary and not already accounted for in the IRS Standards.                                                       $0.00

         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $147.50* per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age.        You must provide your case trustee
         with documentation of your actual expenses, and you must explain why the amount claimed is
         reasonable and necessary and not already accounted for in the IRS Standards.                                                       $0.00

         Additional food and clothing expense.         Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
 39      Standards, not to exceed 5% of those combined allowances. (This information is available at     www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
         reasonable and necessary.                                                                                                          $0.00

 40      Continued charitable contributions.          Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                        $0.00

 41      Total Additional Expense Deductions under § 707(b).           Enter the total of Lines 34 through 40                               $483.00

                                              Subpart C: Deductions for Debt Payment
         Future payments on secured claims. For each of your debts that is secured by an interest in proprerty that
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
         the total of the Average Monthly Payments on Line 42.
                   Name of Creditor              Property Securing the Debt                     Average                Does payment
                                                                                                Monthly                include taxes
                                                                                                Payment                or insurance?
 42
          a.       Bank of America            Residence 1st, 2nd, Taxes, HOA            $7,179.00                       yes       no
          b.       Bank of the West           2004 GMC Denali Auto Loan                 $237.00                         yes       no

          c.       Santander Auto Loan        2006 GMC Envoy                            $304.00                         yes       no

          d.                                                                            $0.00                           yes       no

          e.                                                                            $0.00                           yes       no

                                                                                        Total: Add Lines a - e                              $7,720.00


         Other payments on secured claims.             If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor              Property Securing the Debt                 1/60th of the Cure Amount
 43
          a.                                                                             $0.00
          b.                                                                             $0.00
          c.                                                                             $0.00
          d.                                                                             $0.00
          e.                                                                             $0.00

                                                                                           Total: Add Lines a - e                           $0.00
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         Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
         Do not include current obligations, such as those set out in Line 28.                                                                 $0.00
         Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                      $0.00
 45             Current multiplier for your district as determined under
          b.
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)                             x   0.088

          c.    Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b                          $0.00


 46      Total Deductions for Debt Payment.          Enter the total of Lines 42 through 45.                                                   $7,720.00

                                              Subpart D: Total Deductions from Income
 47      Total of all deductions allowed under § 707(b)(2).         Enter the total of Lines 33, 41, and 46.                                   $15,686.00

                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $12,500.00

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $15,686.00

 50      Monthly disposable income under § 707(b)(2).            Subtract Line 49 from Line 48 and enter the
         result                                                                                                                                ($3,186.00)

 51      60-month disposable income under § 707(b)(2).            Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                       ($191,160.00)

         Initial presumption determination. Check the applicable box and proceed as directed.
           The amount on Line 51 is less than $7,025* Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52        The amount set forth on Line 51 is more than $11,725*               Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
           The amount on Line 51 is at least $7,025*, but not more than $11,725*.               Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                            $

 54      Threshold debt payment amount.            Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                           $

         Secondary presumption determination. Check the applicable box and proceed as directed.
           The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
           The amount on Line 51 is equal to or greater than the amount on Line 54.                Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.

                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                  Monthly Amount
 56
           a.                                                                           $
           b.                                                                           $
           c.                                                                           $
                                                 Total: Add Lines a, b, and c           $
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B22A (Official Form 22A) (Chapter 7) (12/10)           - Cont                                                                                                8
                                                                Part VIII: VERIFICATION
          I declare under penalty of perjury that the information provided in this statement is true and correct.          (If this a joint case,
          both debtors must sign.)

                 8/24/2011
          Date: ________________________             /s/ Frank J. Arlasky
                                         Signature: _____________________________________________________________________
 57
                                                        (Debtor)
          Date: ________________________ Signature: _____________________________________________________________________
                                                        (Joint Debtor, if any )


*Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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Verification of Creditor Mailing List - (Rev. 10/05)                                             2003 USBC, Central District of California



                                               MASTER MAILING LIST
                                    Verification Pursuant to Local Rule 1007-2(d)

Name Donald W Sieveke

Address 1113 N Spurgeon Street Santa Ana, CA 92701

Telephone (714)543-8419

[X]         Attorney for Debtor(s)
[ ]         Debtor In Pro Per


                                       UNITED STATES BANKRUPTCY COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
  List all names including trade names, used by Debtor(s) within                Case No.
  last 8 years:
  In re Frank J. Arlasky                                                        Chapter 7
             aka Arlasky Performance, Inc.




                                     VERIFICATION OF CREDITOR MAILING LIST
The above named debtor(s), or debtor's attorney if applicable, do hereby certify under penalty of perjury that the
                                                          6
attached Master Mailing List of creditors, consisting of _____ sheet(s) is complete, correct and consistent with the
debtor's schedules pursuant to Local Rule 1007-2(d) and I/we assume all responsibility for errors and omissions.




Date:       8/24/2011                                                 /s/ Frank J. Arlasky
                                                                      Debtor: Frank J. Arlasky
/s/ Donald W Sieveke
Attorney: Donald W Sieveke                                            Joint Debtor:
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     Frank J Arlasky
     27462 Grassland Drive
     Laguna Niguel CA 92677


     Donald W Sieveke
     1113 N Spurgeon Street
     Santa Ana CA 92701


     Advanta Bank Corp
     Welsh McKean Roads
     PO Box 844
     Spring House PA 19477

     Bank of America
     Associated Recovery Systems
     PO Box 463051
     Escondido CA 92046


     Bank of America
     PO Box 15184
     Wilmington DE 19850


     Bank of America
     PO Box 15026
     Wilmington DE 19850


     Bank of America
     Creditors Financial Group
     3131 S Vaughn Way Ste 110
     Aurora CO 80014


     Bank of America
     PO Box 301200
     Los Angeles CA       90030


     Bank of America
     PO Box 515504
     Los Angeles CA       90051
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     Bank of the West
     PO Box 4002
     Concord CA 94524


     Capital One
     PO Box 60599
     City of Industry      CA    91716


     Chase
     PO Box 33035
     Louisville KY       40232

     Chase
     PO Box 15548
     Wilmington DE       19886


     Chase Business Card
     PO Box 15548
     Wilmington DE 19886


     Chase Card Services
     PO Box 659409
     San Antonio TX 78265


     Chris Russell
     229 La Jolla Dr
     Newport Beach CA       92663


     Citi Business
     PO Box 6235
     Sioux Falls SD       57117


     Citibank
     Midland Credit Mgmt
     PO Box 60578
     Los Angeles CA 90060


     Citibank
     Leading Edge Recovery
     5440 Cumberland Ave Ste 300
     Chicago IL 60656
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     Edwin Eaton et al
     Corrigan Morris
     201 Santa Monica Blvd Ste 475
     Santa Monica CA 90401


     FIA Bank of America
     Patenaude & Felix
     4545 Murphy Cyn Rd 3rd Fl
     San Diego CA 92123


     FIA Card Service
     Bank of America
     PO Box 15028
     Wilmington DE 19850


     Firey Consulting Inc
     38700 Calle La Salida
     Murrieta CA 92562


     First Equity Card
     PO Box 23029
     Columbus GA 31902


     First National Bank
     PO Box 2818
     Omaha NE 68103


     First Premier Bank
     PO Box 5529
     Sioux Falls SD 57117


     First Premier Bank
     PO Box 5519
     Sioux Falls SD 57117


     GE Money Bank
     Stoneleigh Recovery Assoc
     PO Box 1441
     Lombard IL 60148
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     GE Money Bank
     PO Box 981438
     El Paso TX 79998


     Home Depot
     PO Box 6029
     The Lakes NV       88901


     Home Depot
     PO Box 182676
     Columbus OH 43218

     HSBC
     American Coradius Intl
     2420 Sweet Home Rd Ste 150
     Amherst NY 14228


     HSBC
     PO Box 60102
     City of Industry      CA   91716


     Jose Rivera
     1133 S Acacia
     Compton CA 90220


     Keybank
     PO Box 94620
     Cleveland OH       44101


     Macys
     LTD Financial Services
     7322 Southwest Fwy Ste 1600
     Houston TX 77074


     Mechanics Bank
     PO Box 4000
     Richmond CA 94804


     Michael Ishida
     22 Nutcracker Lane
     Aliso Viejo CA 92656
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     Nordstrom Bank
     PO Box 6565
     Englewood CO 80155


     OCPS
     PO Box 17577
     Anaheim CA 92817


     Orange County Tax Collector
     PO Box 1438
     Santa Ana CA 92702

     Phillips Conoco
     PO Box 68914
     Des Moines IA 50368


     Rex White
     2330 Chelsea Drive
     Lake Havasu City AZ         86404


     Santander Auto Loan
     PO Box 660633
     Dallas TX 75266


     Sears
     PO Box 688956
     Des Moines IA       50368


     Shell
     PO Box 183019
     Columbus OH 43218


     Shell Gasoline
     Northland Group Inc
     PO Box 390846
     Minneapolis MN 55439


     Walton CWCA Irvine
     Voss Cook Thel
     895 Dove St Ste 450
     Newport Beach CA 92660
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     Wells Fargo Bank
     3295 Elder St
     Suite 340
     Boise ID 83705
